       Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 1 of 31




 1 QUINN EMANUEL URQUHART &
    SULLIVAN, LLP
  Charles K. Verhoeven (Bar No. 170151)
    charlesverhoeven@quinnemanuel.com
  Kevin A. Smith (Bar No. 250814)
    kevinsmith@quinnemanuel.com
  50 California Street, 22nd Floor
    San Francisco, California 94111
  Telephone: (415) 875-6600
    Facsimile: (415) 875-6700
 
    Kevin P.B. Johnson (Bar No. 177129)
  kevinjohnson@quinnemanuel.com
    Victoria F. Maroulis (Bar No. 202603)
  victoriamaroulis@quinnemanuel.com
    555 Twin Dolphin Drive, 5th Floor
  Redwood Shores, California 94065
    Telephone: (650) 801-5000
 Facsimile: (650) 801-5100

 William C. Price (Bar No. 108542)
    williamprice@quinnemanuel.com
 865 South Figueroa Street, 10th Floor
    Los Angeles, California 90017-2543
 Telephone: (213) 443-3000
    Facsimile: (213) 443-3100

    Attorneys for SAMSUNG ELECTRONICS
 CO., LTD., SAMSUNG ELECTRONICS
    AMERICA, INC. and SAMSUNG
 TELECOMMUNICATIONS AMERICA, LLC


                                  UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

      APPLE INC., a California corporation,        CASE NO. 12-CV-00630-LHK (PSG)

                    Plaintiff,                     SAMSUNG’S OPPOSITION TO APPLE’S
                                                MOTION FOR PARTIAL SUMMARY
             vs.                                   JUDGMENT

    SAMSUNG ELECTRONICS CO., LTD., a               REDACTED VERSION OF DOCUMENT
 Korean business entity; SAMSUNG                SOUGHT TO BE SEALED
    ELECTRONICS AMERICA, INC., a New
 York corporation; SAMSUNG                      Date: December 12, 2013
    TELECOMMUNICATIONS AMERICA,                    Time: 1:30 p.m.
 LLC, a Delaware limited liability company,     Place: Courtroom 8, 4th Floor
                                                   Judge: Honorable Lucy H. Koh
                 Defendants.





                                                                Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
      Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 2 of 31




 1                                                 TABLE OF CONTENTS
 2                                                                                                                                         Page
 3
     MEMORANDUM OF POINTS AND AUTHORITIES .................................................................. 1
 4
     I.     THE ACCUSED PRODUCTS DO NOT INFRINGE THE ’647 PATENT ........................ 1
 5
            A.      The Accused Products Lack an “Analyzer Server For Detecting Structures
 6                  In The Data, And For Linking Actions To The Detected Structures” ...................... 2

 7          B.      The Accused Products Lack the “User Interface” Limitation of Claim 1 ................. 5

 8          C.      The Accused Products Lack the “Action Processor” Limitation of Claim 1 ............ 6

 9 II.      THE ACCUSED PRODUCTS DO NOT INFRINGE THE ’414 PATENT ........................ 7

10          A.      The Accused Devices Lack the Required Three “Synchronization Software
                    Components” That Are Each “Configured to Synchronize Structured Data”........... 7
11
            B.      The Accused Products Do Not Contain “Synchronization Processing
12                  Threads” .................................................................................................................... 9

13 III.     THE ACCUSED PRODUCTS DO NOT INFRINGE THE ’172 PATENT ...................... 11

14          A.      Claim 18 of the ’172 Patent Covers a Narrow Embodiment of the Patent ............. 11

15          B.      The Preamble of Claim 18, Which Is Limiting, Requires a Physical
                    Keyboard ................................................................................................................. 12
16
     IV.    APPLESEARCH AND WAIS INVALIDATE THE ’959 PATENT ................................. 14
17
            A.      The Asserted Claims Recite Software With Specific Capabilities; A
18                  Demonstration of Capability Is All That Is Required For Anticipation .................. 14
19          B.      AppleSearch Was Known, Used, Sold, and Offered For Sale In The Prior
                    Art Period With The Capabilities Recited In The ’959 Patent ................................ 16
20
            C.      WAIS Software Was Known, Used, Sold, and Offered For Sale In The Prior
21                  Art Period With The Capabilities Recited In The ’959 Patent ................................ 17

22          D.      Apple’s “Summary Judgment” Arguments Regarding Obviousness Are
                    Meritless, And Contradict Apple’s Court Filings And Litigation Positions ........... 19
23
     V.     THE ’446 PATENT DOES NOT ANTICIPATE THE ’757 PATENT .............................. 20
24
            A.      Incorporation of the Multer Patent is Inappropriate ................................................ 20
25
            B.      The ’446 Patent Does Not Teach Automatic Synchronization Of
26                  Multimedia Data ...................................................................................................... 21
27          C.      The ’446 Patent Does Not Teach A System That Is Capable Of
                    Synchronizing Data Across All Devices Of The System ........................................ 22
28

                                                 -i-              Case No. 12-CV-00630-LHK (PSG)
                      SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 3 of 31




 1                  1.         No disclosure of bidirectional synchronization between a zone and
                               central device............................................................................................... 22
 2
                    2.         No disclosure of a system that has the capability to update all
 3                             devices ......................................................................................................... 23

 4 VI.    APPLE’S MOTION SEEKS EXCESSIVE CLAIM CONSTRUCTION ........................... 25

 5 VII.   CONCLUSION ................................................................................................................... 25

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                -ii-              Case No. 12-CV-00630-LHK (PSG)
                      SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
        Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 4 of 31




 1                                                   TABLE OF AUTHORITIES
 2                                                                                                                                   Page(s)
 3                                                                    Cases
 4 Advanced Display Sys., Inc. v. Kent State Univ.,
      212 F.3d 1272 (Fed. Cir. 2000) ............................................................................................20, 21
 5
   Anderson v. Liberty Lobby, Inc.,
 6    477 U.S. 242 (1986) .....................................................................................................................1

 7 Apple Inc. et al. v. Motorola, Inc. et al.,
      No. 1:11-cv-08540 (N.D. Ill.) ......................................................................................................2
 8
   Aventis Pharms. Inc. v. Amino Chem. Ltd.,
 9    715 F.3d 1363 (Fed. Cir. 2013) ..................................................................................................14

10 Becton, Dickinson & Co. v. Tyco Healthcare Group, LP,
      616 F.3d 1249 (Fed. Cir. 2010) ..................................................................................................12
11
   Brocade Commc’n Sys., Inc. v. A10 Networks, Inc.,
12    873 F. Supp. 2d 1192 (N.D. Cal. 2012) .......................................................................................1

13 C.W. Zumbiel Co. v. Kappos,
      702 F.3d 1371 (Fed. Cir. 2012) ..................................................................................................12
14
   eMachines, Inc. v. Ready Access Memory, Inc.,
15    No. 5:00-cv-00374, 2001 WL 456404 (C.D. Cal. Mar. 5, 2001) .................................................1

16 Finjan, Inc. v. Secure Computing Corp.,
      626 F.3d 1197 (Fed. Cir. 2010) ..................................................................................................15
17
   Gaus v. Conair Corp.,
18    363 F.3d 1284 (Fed. Cir. 2004) ..................................................................................................13
19 Harari v. Mihnea,
      656 F.3d 1331 (Fed. Cir. 2011) ..................................................................................................21
20
   Helicos Biosciences Corp. v. Illumina, Inc.,
21    888 F. Supp. 2d 519 (D. Del. 2012) ...........................................................................................21

22 Helmsderfer v. Bobrick Washroom Equip., Inc.,
       527 F.3d 1379 (Fed. Cir. 2008) ..................................................................................................13
23
   Intamin Ltd. v. Magnetar Techs., Corp.,
24     483 F.3d 1328 (Fed. Cir. 2007) ..................................................................................................13

25 Language Line Servs., Inc. v. Language Servs. Assocs., Inc.,
      __ F. Supp. 2d __, 2013 WL 1891369 (N.D. Cal. May 6, 2013 ) ................................................1
26
   Microprocessor Enhancement Corp. v. Tex. Instruments Inc.,
27    520 F.3d 1367 (Fed. Cir. 2008) ..................................................................................................14

28

                                                      -iii-             Case No. 12-CV-00630-LHK (PSG)
                            SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
       Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 5 of 31




 1 Net MoneyIN, Inc. v. VeriSign, Inc.,
       545 F.3d 1359 (Fed. Cir. 2008) ............................................................................................22, 24
 2
   Pfizer, Inc. v. Teva Pharms. USA, Inc.,
 3     429 F.3d 1364 (Fed. Cir. 2005) ..................................................................................................13

 4 In re Seversky,
       474 F.2d 671 (CCPA 1973)........................................................................................................21
 5
   TypeRight Keyboard Corp. v. Microsoft Corp.,
 6     374 F.3d 1151 (Fed. Cir. 2004) ............................................................................................17, 19

 7 Ultradent Prods. Inc. v. Life-Like Cosmetics, Inc.,
       127 F.3d 1065 (Fed. Cir. 1997) ..................................................................................................21
 8
   Univ. of Texas v. Camenisch,
 9     451 U.S. 390 (1981) .....................................................................................................................1

10 Versata Software, Inc. v. SAP America, Inc.,
      717 F.3d 1255 (Fed. Cir. 2013) ..................................................................................................15
11
   Yodlee, Inc. v. CashEdge, Inc., No. C 05-01550 SI,
12    2006 WL 3456610 (N.D. Cal. Nov. 29, 2006) ...........................................................................15

13
                                                                        Statutes
14
      35 U.S.C. § 103 ................................................................................................................................20
15
      Fed. R. Civ. P. 56(a) ...........................................................................................................................1
16

17

18
19

20

21

22

23

24

25

26
27

28

                                                        -iv-              Case No. 12-CV-00630-LHK (PSG)
                              SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
      Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 6 of 31




 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2          Apple’s motion must be denied unless it “shows that there is no genuine dispute as to any

 3 material fact” and that Apple “is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a)

 4 (emphases added). There is a genuine dispute of a material fact “if the evidence is such that a

 5 reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,

 6 477 U.S. 242, 248 (1986). “The evidence of the non-movant is to be believed, and all justifiable

 7 inferences are to be drawn in his favor.” Id. at 255. “The opposing party need not show the issue

 8 will be resolved conclusively in its favor. All that is necessary is submission of sufficient evidence

 9 to create a material factual dispute, thereby requiring a jury or judge to resolve the parties’ differing

10 versions at trial.” Brocade Commc’n Sys., Inc. v. A10 Networks, Inc., 873 F. Supp. 2d 1192, 1199-

11 1200 (N.D. Cal. 2012) (citation omitted).

12          This standard differs substantially from the preliminary injunction standard. “The limited

13 purpose of a preliminary injunction is to preserve the status quo and prevent irreparable injury, not

14 to provide an evidentiary basis for granting summary judgment.” eMachines, Inc. v. Ready Access

15 Memory, Inc., No. 5:00-cv-00374, 2001 WL 456404 at *4 (C.D. Cal. Mar. 5, 2001) (citing Univ. of

16 Texas v. Camenisch, 451 U.S. 390, 394 (1981)). Thus, this Court’s June 29, 2012 preliminary

17 injunction ruling (Dkt. 221) (“PI Order”) is no basis for summary judgment. See, e.g., Language

18 Line Servs., Inc. v. Language Servs. Assocs., Inc., __ F. Supp. 2d __, 2013 WL 1891369, at *9
19 (N.D. Cal. May 6, 2013 ) (preliminary injunction phase is a “procedurally and legally distinct stage

20 of the case from” summary judgment; party went a “step too far” by claiming summary judgment

21 was decided by the earlier “preliminary ruling,” as “the findings of fact and conclusions of law

22 made by the court at that stage are not binding”).

23 I.       THE ACCUSED PRODUCTS DO NOT INFRINGE THE ’647 PATENT
24          Apple moves for partial summary judgment of infringement of claim 1 of the ’647 patent,

25 on only one of Apple’s two infringement allegations,1 based primarily on argument rather than

26
        1
         Apple’s contentions accuse both the Browser and Messenger applications across several
27 versions of Android in Samsung’s products, but Apple’s motion only addresses the Browser
   application; Apple never mentions the Messenger application, which functions differently.
28

                                                1                Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
      Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 7 of 31




 1 evidence. That argument includes heavy reference to the PI Order. But that Order was based on a

 2 different factual record and applied a different legal standard, and thus has no bearing on the

 3 summary judgment determination. Supra at 1. Apple ignores or mischaracterizes Samsung’s

 4 current arguments, repeatedly relying on its own expert to establish allegedly “undisputed” facts.

 5 This falls woefully short of satisfying the requirements for summary judgment. Apple’s motion

 6 implicates a litany of materials factual disputes, and thus cannot be granted.

 7          A.      The Accused Products Lack an “Analyzer Server For Detecting Structures In
                    The Data, And For Linking Actions To The Detected Structures”
 8
            Claim 1 recites “an analyzer server for detecting structures in the data, and for linking
 9
     actions to the detected structures . . .” (Rho Decl. Ex. B-6 (Dkt. 803-11, ’647 Patent) at 7:16-17.)
10
     The district court in Apple Inc. et al. v. Motorola, Inc. et al., No. 1:11-cv-08540 (N.D. Ill.)
11
     (“Motorola Court”) previously construed “analyzer server” and “linking actions to the detected
12
     structures.”2 The Federal Circuit is reviewing those constructions.3 Whatever the outcome of that
13
     appeal, Samsung’s accused products do not infringe, as they do not meet the Motorola Court’s
14
     constructions or the rejected constructions Apple proposed to the Motorola Court.4
15
            As an initial matter, Apple simply ignores many of Samsung’s non-infringement positions
16
     concerning the “analyzer server” claim term.5 Apple never even recites the Motorola Court’s
17
     construction for “analyzer server” or acknowledges Samsung’s position – not raised during the PI
18
     phase – that the accused “shared libraries” never “receive data having structures from the client” as
19
       2
          The Motorola Court construed “analyzer server” to be “a server routine separate from a
20 client that receives data having structures from the client.” (Fazio Decl. Ex. 1 at 9.) The Motorola

21 Court also construed “linking actions to the detected structures” to mean “creating a specified
   connection between each detected structure and at least one computer subroutine that causes the
22 CPU3 to perform a sequence of operations on that detected structure.” (Id.)
          In a footnote, Apple “urges the Court to construe these terms” based on statements in
23 Apple’s expert report. (Mot. at 5 n. 6.) But as Apple itself acknowledges, the proper construction
   of these terms is currently before the Federal Circuit. (Id. at 5.) Construing those terms now would
24 needlessly waste the Court’s time when a Federal Circuit opinion is forthcoming.
       4
25        Apple does not even address non-infringement under the constructions it offered in the
   Motorola action other than a single unsupported sentence that “the undisputed facts prove
26 infringement under either set of constructions.” (Mot. at 5 n. 6.)
       5
          Dr. Jeffay’s attached declaration provides a number of reasons, ignored by Apple in its
27 motion, why Samsung’s accused products do not infringe. The declaration mirrors the opinions set
   forth in Dr. Jeffay’s rebuttal expert report.
28

                                                 2                Case No. 12-CV-00630-LHK (PSG)
                      SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
      Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 8 of 31




 1 expressly required by that construction.

 2

 3            (See Jeffay Decl. ¶¶ 100-101, 112-113, 120, 135-136, 173-174, 185-186.) Apple may

 4 dispute this analysis, but it cannot simply be ignored.

 5          Apple ignores other factual disputes concerning Samsung’s devices.

 6

 7

 8                                                                                  (See Jeffay Decl. ¶¶

 9 103-109, 126-132, 176-182.) Rather than address this and other factual disputes, Apple tries to

10 disguise them as claim construction issues. In this instance, Apple asserts Samsung reads the

11 Motorola Court’s construction of “analyzer server” to mean the accused routines must run in a

12 separate process at run-time for there to be infringement. (See Mot. at 5-6.) But

13

14

15                A jury must resolve this and other material disputes of fact.

16          Apple also tries to summarize 58 paragraphs of Samsung’s non-infringement expert report

17 in one sentence and then claim “[t]his Court rejected Samsung’s exact arguments in its PI Order.”

18 (Mot. at 5 (emphasis added).) In fact, this Court has not considered Samsung’s current arguments.
19 Samsung’s expert Dr. Jeffay did not participate during the PI phase. His opinions are substantially

20 more advanced than those offered in the PI phase.

21

22                                                                                     (See Jeffay Decl.

23 ¶¶ 19-24, 35-39, 60-71.)6 Apple likewise alleges that Samsung “argues, just as it did in the PI

24 phase, that the claims permit absolutely no overlap between the analyzer server and the ‘client.’”

25 (Mot. at 6.) Apple again distorts a factual dispute. Apple’s expert opines that the accused code in

26
        6
          Dr. Jeffay also explained why a person of ordinary skill in the art at the time of the alleged
27 invention would not have confused a “server” with a shared library generally and certainly not with
   the accused “shared libraries.” (Jeffay Decl. ¶¶ 96-97, 116-117, 169-170.)
28

                                                3                Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
      Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 9 of 31




 1 the client application is something he calls “glue code,” a piece of jargon with no standard, definite

 2 meaning in the art (see Rho Decl. Ex. B-1 (Dkt. 803-11, Mowry Opening Report) ¶ 227) that,

 3 according to Apple’s expert, simply allows the application to interface with the shared library. (See

 4 id.)

 5                                                  (See Jeffay Decl. ¶¶ 103, 126, 176.)

 6

 7                                   (Mot. at 6.) Apple ignores this factual dispute.

 8          Apple also misrepresents this Court’s order construing the term “action processor” to

 9 improperly frame the “analyzer server” term. In attempting to rebut the Motorola Court’s

10 “separateness” requirement for “analyzer server,” Apple quotes this Court as “explain[ing] that

11 ‘[t]he claims strongly suggest that [the claimed program routines are] not necessarily separate from

12 the application containing the data.” (Mot. at 6.) But Apple incredibly misrepresents this Court’s

13 own words; the Court is not referring to “the claimed program routines” as identified by Apple in

14 brackets but rather is referring only to the “action processor.” Here is the Court’s language in full:

15 “The claims strongly suggest that an action processor is not necessarily separate from the

16 application containing the data.” (Dkt. 447 at 16 (emphasis added).) Apple’s misrepresentation is

17 especially egregious considering the Motorola Court’s primary basis for finding the analyzer server

18 to be separate from the client application is the use of the word “server” and its indication of a
19 client-server relationship, which does not appear in the “action processor” claim limitation. (See

20 Fazio Decl. Ex. 1 at 9.)

21          Apple similarly mischaracterizes Samsung’s non-infringement positions for the “linking”

22 phrase, this time summarizing 12 paragraphs of Dr. Jeffay’s non-infringement expert report in two

23 sentences. (See Mot. at 7.) Apple again fails to even mention the Motorola Court’s construction of

24 the “linking” phrase. Instead, Apple implies that Samsung requires a “pointer” for infringement.

25 (See id.) This is false. Dr. Jeffay merely opined, by way of explanation, that “[i]n its simplest and

26 most straightforward realization, a link is a pointer.” (Jeffay Decl. ¶¶ 138, 188.) Nowhere does Dr.
27

28

                                                4                Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 10 of 31




 1 Jeffay or Samsung allege that a pointer is required.7

 2          Apple apparently relies on these mischaracterizations to hide that material disputes of fact

 3 remain concerning the alleged “linking” performed by Samsung’s accused devices.

 4

 5                                                                 (See Jeffay Decl. ¶¶ 141-143, 191-193.)

 6 This is plainly contrary to the language of claim 1, which requires “a user interface enabling the

 7 selection of a detected structure and a linked action.” Apple never mentions this, or related factual

 8 disputes about the operation of the accused code, instead alleging that the facts are “undisputed” by

 9 – incredibly – citing to Apple’s own expert’s report. (See Mot. at 7.) Apple’s say-so is not

10 enough: Samsung’s expert methodically demonstrated Apple’s expert is wrong both on the facts

11 and the interpretation of them. (See, e.g., Jeffay Decl. ¶¶ 19-30, 35-48, 60-92.) These disputes of

12 fact are for the jury to resolve; summary judgment is not appropriate here.

13          B.      The Accused Products Lack the “User Interface” Limitation of Claim 1
14          Claim 1 also recites “a user interface enabling the selection of a detected structure and a

15 linked action….” (Rho Decl. Ex. B-6 (Dkt. 803-11, ’647 Patent) at 7:18-19.) Samsung’s Accused

16 Jelly Bean Browser Products, introduced after the PI briefing, do not include “a user interface

17 enabling the selection of a detected structure.” (Dkt. 805-04 at1-8.) Rather, those products require

18 the user to select a “structure” before it is “detected.” Id.
19          Facing summary judgment of non-infringement, Apple argues Samsung is “applying an

20 overly restrictive construction of ‘selection’” in asserting non-infringement. (Mot. at 9.) But

21 Samsung is applying the plain language of the claim: the user interface must enable the selection

22 of a detected structure (i.e., the structure must be detected before being selected). Apple itself

23 admits that in Samsung’s accused products, “the user can select the [structure], which will be

24 detected….” (Mot. at 9 (emphasis added).)

25
        7
26       Apple similarly alleges that Samsung is reading a “direct link” requirement into the claim
   language which, according to Apple, was rejected by the Court during the PI phase. (Mot. at 7.)
27 But this is wrong – the Court never even addressed any such argument, let alone rejected it. (See
   Dkt. 221 (PI Order) at 35-36.)
28

                                                5                Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 11 of 31




 1

 2

 3 (Id (emphasis added).) Thus, there is no dispute that selection occurs before detection. Summary

 4 judgment of non-infringement is plainly appropriate here.

 5          Apple’s only retort, via unsupported attorney argument, is that a user’s selection continues

 6 throughout a “long-press” and ultimately overlaps with detection by the system, which somehow

 7 means that the accused user interface enables the selection of a detected structure. (See Mot. at 9-

 8 10.) Apple’s argument conflicts with the plain language of the claim, which requires the ability for

 9 a user to select a “detected structure.” Apple’s motion should be denied and Samsung’s motion for

10 summary judgment of non-infringement granted.8

11          C.     The Accused Products Lack the “Action Processor” Limitation of Claim 1
12          Claim 1 requires “an action processor for performing the selected action linked to the
13 selected structure . . .” (Rho Decl. Ex. B-6 (Dkt. 803-11, ’647 Patent) at 7:20-21.) Once again,

14 Apple cites its own expert’s report as “undisputed” fact, mischaracterizes Samsung’s positions, and

15 then declares that Samsung is wrong. Apple also ignores disputed issues of material fact regarding

16 the operation of the code Apple accuses as the “action processor” – including whether the code

17 Apple accuses actually “performs the selected action” on the structures in question, as required by

18 the Court’s construction. (Compare Rho Decl. Ex. B-1 (Dkt. 803-11, Mowry Opening Report) ¶¶
19 257-262 with Jeffay Decl. ¶¶ 84-92, 161-165, 205-209.) Apple does not address these disputes –

20 but ignoring them will not make them go away. They must be resolved in Samsung’s favor,

21 precluding summary judgment. Supra at 1.

22          Instead, Apple tries to summarize five paragraphs of Dr. Jeffay’s report in one sentence:

23 “Samsung claims that Dr. Mowry identifies one routine                    as the ‘action’ as well as the

24 ‘action processor,’ then argues that one routine cannot be both.” (Mot. at 8.) Apple then relies on

25      8
         Apple also misrepresents Samsung’s position concerning the detection of multiple structures.
26 (See Mot. at 8-9.) Contrary to Apple’s allegations, Samsung’s position, as set forth in its summary
   judgment motion, is that the Accused Jelly Bean Browser Products do not allow a user to select a
27 detected “structure” from a set of detected “structures.” (See Dkt. 805-04 at 6-9.) Samsung’s
   summary judgment motion should be granted on this separate ground as well.
28

                                                6                Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 12 of 31




 1 five paragraphs of Dr. Mowry’s report to assert that Samsung and Dr. Jeffay are wrong. (Id.)

 2 Putting aside all the problems with Dr. Mowry’s analysis, Apple’s approach demonstrates why its

 3 motion should be rejected.9 Declaring an expert’s opinions wrong by pointing to one’s own expert

 4 shows material disputes of fact that preclude summary judgment.

 5 II.       THE ACCUSED PRODUCTS DO NOT INFRINGE THE ’414 PATENT
 6           The Accused Products do not infringe claim 20 of the ’414 patent. Apple’s cursory motion

 7 for summary judgment of infringement does not address the actual record; it depends entirely on

 8 the opinions of its testifying expert, Dr. Alex Snoeren. But Dr. Snoeren’s opinions only confirm

 9 multiple disputed issues of material fact that require the Court to deny Apple’s motion.

10           A.     The Accused Devices Lack the Required Three “Synchronization Software
                    Components” That Are Each “Configured to Synchronize Structured Data”
11
             Apple’s motion overlooks a core factual dispute: the number of “synchronization software
12
     components configured to synchronize structured data” in the accused products. The parties agree
13
     Claim 20 requires at least three different “synchronization software components,” each of which
14
     must be configured to synchronize structured data for a different data class, such as mail, contacts,
15
     or calendar. (Fazio Decl. Ex. 2 at 288:1-289:2; Chase Decl. ¶ 105.) The parties dispute whether
16
     three such components exist in the Accused Products.
17
             Apple claims six different “Sync Adapters” in the Accused Products each are “configured to
18
     synchronize” structured data for a different data class. (Mot. at 11.) Its argument rests entirely on
19
     Dr. Snoeren, who broadly opined that
20

21

22

23
         9
         In short, Apple and Dr. Mowry are claiming that
24                  is both the claimed “action” and the claimed “action processor.” (See Rho Decl.
25 Ex. B-1 (Dkt. 803-11  ¶¶ 146, 160.) But the Court’s construction of “action processor” requires
   “program routine(s) that perform the selected action on the detected structure.” (Dkt. 447 at 20.)
26
                          (Jeffay Decl. ¶ 163, 207.)
27
                                                                Id.)
28

                                                7                Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 13 of 31




 1 (Mot. at 10; Fazio Decl. Ex. 3 ¶¶ 423, 462 & 473.) But Dr. Snoeren’s cursory analysis is incorrect.

 2

 3                                      (Fazio Decl. Ex. 3 ¶¶ 422-25),

 4

 5                           Chase Decl. ¶¶ 76-103, 106.)

 6

 7

 8

 9                                                 (Id. ¶¶ 24-53.)

10                                                                   (Id. ¶¶ 24-32, 76-81)

11                                                        (Id. ¶¶ 33-53, 82-103).

12

13                                                                                              Apple does

14 not accuse the components that actually synchronize Gmail or Exchange data, because it cannot

15 stretch the claims to cover them.

16           Apple and Samsung thus submit a genuine dispute of material fact. Apple contends all six

17 accused Sync Adapters perform synchronization operations.

18                                             meaning the Accused Devices lack three “synchronization
19 software components” that are “configured to synchronize structured data.” (Id. ¶¶ 105-06.) This

20 dispute alone requires denial of summary judgment. See supra at 1.

21           Seeking to distract the Court from this critical dispute of material fact, Apple rails against

22 an argument that Samsung has not made: that the claim requires synchronization software

23 components to “perform all the synchronization steps on their own.” (Mot. at 11, 12 (emphasis

24      10


25

26                                                (Westbrook Decl. ¶¶ 3-4.)

27
                                                         (Id. ¶ 6-7.)
28

                                                 8                Case No. 12-CV-00630-LHK (PSG)
                      SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 14 of 31




 1 added).) This misstates Samsung’s view. In fact, each “synchronization software component” that

 2 is “configured to synchronize structured data” must perform at least some synchronization

 3 operations with that data. This is clear from the claim language, which requires not only that the

 4 component be a “synchronization software component” but further requires the component be

 5 “configured to synchronize” data. The specification – including Apple’s cited excerpts – also

 6 supports Samsung’s view of the claim. (Rho Decl. Ex. C-3 (Dkt. 803-11, ’414 Patent) at tbl. A

 7 (describing functionalities of disclosed “synchronization software components”).) Indeed, as

 8 Apple admits in its motion, the synchronization software components in the specification – “Data

 9 Sources” that “open the database on the device,” “send changed/new/deleted records” to and

10 “process and commit data” received from a host (Mot. at 12), and a “Sync Agent,” which the patent

11 describes as “maintain[ing] a data connection between the device and the host” and “determin[ing]

12 the order of synchronization of the various data classes by specifying directly or indirectly the

13 order” (Rho Decl. Ex. C-3 (Dkt. 803-11, ’414 Patent) at 8:51-61) – each actually perform

14 synchronization operations on structured data. (Id. at 8:23-61, tbl. A.) Thus the specification

15 merely reinforces Samsung’s disputed issue of material fact:

16                                                                                              In light

17 of this dispute, the Court must deny Apple’s motion regarding the ’414 patent.

18          B.      The Accused Products Do Not Contain “Synchronization Processing Threads”
19          Apple’s motion fails for a second, separate reason: the Accused Products lack what Apple

20 describes as the “threads” for “synchronization processing” in Claim 20. Apple alleges Claim 20

21 requires at least three of these threads, each of which must meet several exacting requirements.

22 (Fazio Decl. Ex. 4 ¶¶ 493, 566, 572; Fazio Decl. Ex. 2 at 307:14-19.) The Accused Products lack

23 these “threads,” dooming Apple’s motion.

24          According to Apple, a synchronization processing thread must be “provide[d]” by a

25 component that itself “create[s] or instantiate[s] the synchronization processing thread.” (Fazio

26 Decl. Ex. 4 ¶ 566; Fazio Decl. Ex. 2 at 300:14-23, 307:14-19.) Thus three of the accused Sync
27 Adapters must each “create or instantiate” a separate “synchronization processing thread.” (Id.)

28 Apple’s motion does not show this requirement is satisfied; its brief merely cites Dr. Snoeren’s

                                                9                Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 15 of 31




 1 opinion that

 2                                                                                       (Fazio Decl. Ex.

 3 3 ¶ 455.)11 And for good reason: as explained by Google’s corporate witness, the Sync Adapters

 4 accused by Apple

 5

 6

 7

 8

 9

10

11

12

13

14 (Fazio Decl. Ex. 5 at 249:24-250:22 (objections omitted).) This alone provides a disputed issue of

15 material fact: whether the accused Sync Adapters

16                           Fazio Decl. Ex. 4 ¶ 566.)

17              In addition, Apple argues that the components creating “synchronization software threads”

18 must be part of a single “plug-in architecture” that is part of an “extensible” and “consistent
19 framework.” (Id. ¶¶ 449, 552, 572.) Again, Apple’s motion does not address this requirement, but

20 merely cites Dr. Snoeren opining that

21

22 (Rho Decl. Ex. C-1 (Dkt. 803-111) ¶ 473.) And again, however, the facts are contrary to Apple’s

23 assumptions:

24

25
           11
26                                                                                           (Mot. at 14 n.
     9),
27
                              (Rho Decl. Ex. C-4 (Dkt. 803-11, Chase Dep.) at 60:9-62:10.)
28

                                                   10               Case No. 12-CV-00630-LHK (PSG)
                        SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 16 of 31




 1                                                       (Westbrook Decl. ¶¶ 2-7.)

 2

 3                  Fazio Decl. Ex. 4 ¶ 552.) As above, this dispute is fatal to Apple’s motion.

 4             Finally, the “synchronization processing threads” must execute “concurrently” with a non-

 5 synchronization processing thread that allows accessing and editing of the structured data in the

 6 application’s database. Apple’s motion focuses on “execut[ing] concurrently” (Mot. at 13), but

 7 ignores “accessing and editing structured data” in a first database. This is curious; Apple’s expert

 8 elsewhere touts the alleged value of “access[ing] and edit[ing] data while synchronization of that

 9 data is occurring” so as to avoid a “wait” in the user interface. (Fazio Decl. Ex. 4 ¶ 620; see also

10 Fazio Decl. Ex. 6 (emphasis added).) But the applications Apple accuses of infringement actually

11

12                                                                                (Chase Decl. ¶¶ 63-71.)

13

14                               s – the opposite of Apple’s assumption. (Fazio Decl. Ex. 7 at 94:8-21.)12

15 As before, this material factual dispute is by itself enough to require denial of Apple’s motion. For

16 at least these additional reasons, the Accused Products lack the limitations Apple itself ascribes to

17 Claim 20, making summary judgment improper.

18 III.        THE ACCUSED PRODUCTS DO NOT INFRINGE THE ’172 PATENT
19             Apple’s motion turns on its allegation that claim 18 of the ’172 patent covers both physical

20 keyboards and virtual keyboards integrated into the touchscreen display on a smartphone. Apple’s

21 allegation conflicts with the plain language of the claim and should be rejected.13

22             A.     Claim 18 of the ’172 Patent Covers a Narrow Embodiment of the Patent
23             The ’172 patent addresses the “need for more efficient ways of entering text into portable

24        12
                                                                                     (Mot. at 13 (citing
25 Chase Dep. 86:9-20, 88:6-17, 89:19-90:9 ),

26        (Rho Decl. Ex. C-4 (Dkt. 803-11) at 90:3-9; see also id. at 87:2-24 (same).) This is
   insufficient for summary judgment. Supra at 1.
27     13
           Apple does not accuse any physical keyboards of infringing claim 18 of the ’172 patent.
   (Wigdor Decl. ¶ 7.)
28

                                                   11               Case No. 12-CV-00630-LHK (PSG)
                        SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 17 of 31




 1 devices.” (Rho Decl. Ex. A-3 (Dkt. No. 803-11, ’172 Patent) at 1:36-37.) The patent discloses

 2 numerous embodiments, including embodiments covering a physical keyboard and embodiments

 3 covering “a virtual or soft keyboard” displayed in a region of a touch screen display. (Id. at 7:14,

 4 33-39.) The ’172 patent contains 10 independent claims covering the various embodiments.

 5           Apple only asserts independent claim 18, a narrow claim limited to the physical keyboard

 6 embodiment. Claim 18 has no dependent claims. Most of the other independent claims include

 7 dependents establishing the presence of both virtual and physical keyboards, but claim 18 does not.

 8 (See, e.g., id. at Claims 21, 23, 28-29.) The preamble of claim 18 – “[a] graphical user interface on

 9 a portable electronic device with a keyboard and a touch screen display” – is also unique among the

10 independent claims: no other independent claim preamble separately calls out the “keyboard” and

11 the “touch screen display.” (See, e.g., id. at 11:20-16:60.)

12           B.     The Preamble of Claim 18, Which Is Limiting, Requires a Physical Keyboard
13           Apple does not dispute that the preamble of claim 18 is limiting.14 (Mot. at 3.) By its plain
14 language, this preamble covers only physical keyboards, not “virtual or soft keyboard(s).” See

15 Becton, Dickinson & Co. v. Tyco Healthcare Group, LP, 616 F.3d 1249, 1254 (Fed. Cir. 2010)

16 (“Claim construction ‘begins and ends in all cases with the actual words of the claim’”). The

17 preamble separately calls out a “keyboard and a touch screen display.” (Rho Decl. Ex. A-3 (Dkt.

18 No. 803-11, ’172 Patent) at 12:49-50 (emphasis added).) Based on this language, a person of skill
19 in the art at the time of the alleged invention would have understood it to exclude virtual

20 keyboards, because a virtual keyboard must be part of the touch screen display rather than separate

21 from it. (Wigdor Decl. ¶ 4.) See Becton, Dickinson, 616 F.3d at 1254 (“Where a claim lists

22 elements separately, ‘the clear implication of the claim language’ is that those elements are ‘distinct

23 component[s]’ of the patented invention.”) (internal citations omitted). Indeed, the ’172 patent

24 confirms that a “physical keyboard,” unlike a virtual keyboard, “is not part of the touch screen

25
        14
26         The terms “keyboard” and “touch screen display” both provide antecedent basis for
   limitations in the body of the claim, and are therefore limiting. See C.W. Zumbiel Co. v. Kappos,
27 702 F.3d 1371, 1385 (Fed. Cir. 2012) (“the preamble constitutes a limitation when the claim(s)
   depend on it for antecedent basis”).
28

                                                 12               Case No. 12-CV-00630-LHK (PSG)
                      SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 18 of 31




 1 display.” (Rho Decl. Ex. A-3 (Dkt. No. 803-11, ’172 Patent) at 7:35-36.)

 2          The Federal Circuit addressed similar claim language in Gaus v. Conair Corp., 363 F.3d

 3 1284, 1287-88 (Fed. Cir. 2004). Considering the phrase “an electrical operating unit and a pair of

 4 spaced-apart electronically exposed conductive probe networks,” the Court concluded that because

 5 the claim listed the “pair of probe networks” and “electrical operating unit” elements separately,

 6 the “clear implication of the claim language [was] that the pair of probe networks [was] a distinct

 7 component,” and not “a portion of the ‘electrical operating unit.’” Id. at 1288. The same is true in

 8 claim 18: “keyboard” and “touch screen display” are listed separately, and the claim does not

 9 suggest that the former is a part of the latter; rather, the two are separate.

10          Apple ignores the principle that every claim need not cover every embodiment. See

11 Helmsderfer v. Bobrick Washroom Equip., Inc., 527 F.3d 1379, 1383 (Fed. Cir. 2008) (“It is often

12 the case that different claims are directed to and cover different disclosed embodiments.”). Claim

13 18 covers the physical keyboard embodiment described by the ’172 patent; other independent

14 claims in the ’172 patent with less restrictive preambles cover both the virtual and physical

15 keyboard embodiments. (See generally Rho Decl. Ex. A-3 (Dkt. No. 803-11, ’172 Patent) at 11:20-

16 16:60.) For example, independent claim 28 covers both physical and virtual keyboards, confirmed

17 by dependent claim 29, which recites that “the keyboard is a virtual keyboard displayed on the

18 touch screen display.” See Intamin Ltd. v. Magnetar Techs., Corp., 483 F.3d 1328, 1335 (Fed. Cir.
19 2007) (“An independent claim impliedly embraces more subject matter than its narrower dependent

20 claim.”). Of course, claim 18 has no such dependent claim.

21          Apple relies on a single case, Pfizer, Inc. v. Teva Pharms. USA, Inc., 429 F.3d 1364 (Fed.

22 Cir. 2005), to say limiting claim 18 to a physical keyboard would improperly exclude a “preferred

23 embodiment.” (Mot. at 2.) But in Pfizer, the Federal Circuit affirmed the construction of the term

24 “saccharide,” which appears in the only two independent claims in the patent, corresponding

25 composition and process claims. See Pfizer at 1373, 1376. The accused infringer, Ranbaxy,

26 argued for a narrower construction, but the Court determined Ranbaxy’s construction conflicted
27 with the embodiment described in the patent. Id. at 1374. Here there are multiple embodiments,

28

                                                13               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 19 of 31




 1 none of them preferred,15 and 10 distinct independent claims correspond to multiple embodiments.

 2 Reading claim 18 to cover physical keyboards does not read out a preferred embodiment. It

 3 comports with the plain claim language to cover a distinct embodiment: a physical keyboard.

 4            Apple also argues that claim 18 includes physical and virtual keyboards because other

 5 independent claims using the same “keyboard” term cover both. (Mot. at 2.) But “the same claim

 6 term can have different constructions depending upon the context of how the term is used within

 7 the claims and specification.” Aventis Pharms. Inc. v. Amino Chem. Ltd., 715 F.3d 1363, 1374

 8 (Fed. Cir. 2013); see also Microprocessor Enhancement Corp. v. Tex. Instruments Inc., 520 F.3d

 9 1367, 1375-76 (Fed. Cir. 2008) (construing the term “condition code” differently for “each

10 occurrence in context”). Here, the preamble of claim 18 distinguishes the keyboard from the touch

11 screen display in a way that excludes virtual keyboards.

12 IV.        APPLESEARCH AND WAIS INVALIDATE THE ’959 PATENT
13            Apple’s motion misrepresents Samsung’s positions, misrepresents the factual record,

14 misrepresents the nature of the claims at issue, and even misrepresents Apple’s own binding

15 stipulations. This meritless effort to avoid invalidating prior art should be denied.

16            A.     The Asserted Claims Recite Software With Specific Capabilities; A
                     Demonstration of Capability Is All That Is Required For Anticipation
17
              Apple’s entire argument depends on the proposition that Samsung cannot rely on prior art
18
     software unless Samsung can exhume the exact computer running that exact software, and show
19
     that computer actually performed a specific set of steps, in the prior art period. This argument
20
     collapses, however, for the simple reason that this proposition is legally and factually not correct.
21
     The asserted claims of the ’959 patent recite a “computer readable medium . . . containing program
22
     instructions to” perform several functions. Claims written in this way recite the “capability” of
23

24

25       15
          Apple argues that limiting claim 18 to a physical keyboard would improperly exclude
26 “preferred embodiments.” (Mot. at 2.) But no embodiments in the ’172 patent are ever described
   as “preferred.” In fact, the ‘172 patent never uses the word “preferred” at all. Rather, the ’172
27 patent discloses “some embodiments” with physical keyboards and “some” with virtual ones. (Rho
   Decl. Ex. A-3 (Dkt. No. 803-11, ’172 Patent) at 7:10-20; 7:33-39.)
28

                                                 14               Case No. 12-CV-00630-LHK (PSG)
                      SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 20 of 31




 1 performing a function.16 Claim 24 of the ’959 patent thus covers a computer readable medium

 2 containing software instructions capable of performing certain actions. Apple knows this full well;

 3 its entire infringement case rests on alleged capabilities of devices sold in the United States. Apple

 4 made no effort to show the steps of claims 24 and 25 are actually performed, or how often, as it

 5 knows this is not required for the asserted claims.

 6           As described below, Samsung analyzed the source code for prior art software that was

 7 known, used, sold, and offered for sale before the priority date of the ’959 patent, and identified the

 8 exact instructions in source code capable of performing the actions described in the ’959 patent,

 9 proving anticipation. Samsung further confirmed its analysis by executing these software

10 instructions, to confirm the instructions were in fact capable of performing the steps described in

11 the ’959 patent. This showing of capability is all that is required under the law.17

12           Apple mentions source code nowhere in its motion, and raises zero complaints regarding

13 Samsung’s extensive analysis of that code. Instead, Apple focuses on demonstratives that run this

14 code. (Mot. at 15-17.) But the software is the relevant prior art – not demonstratives running that

15 software. Apple further claims the Court should exclude AppleSearch and WAIS entirely as prior

16 art because of a PI phase ruling on a different demonstrative exhibit running different software in

17 relation to a different patent claim with different requirements, prepared by a different witness.18

18
        16
19           See Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1204-05 (Fed. Cir. 2010) (a
     “storage medium” claim covers the “capability” of performing a given function using instructions
20   stored on that medium). This Court, in ruling on the parties’ summary judgment motions in the
21   predecessor litigation, explained that claims directed to a “computer-readable storage device
     storing instructions” cover “a device that has the capability of performing the steps,” such that
22   “[w]hether a user actually activates the [software instructions] is of absolutely no import.” (Case
     No. 5:11-cv-01846, Dkt. 1156, at 11-12.) Such claims cover “a device that is capable of
23   responding to the specified user action in the specified way … regardless of whether the user
     ultimately takes that particular action.” (Id. at 12.) See also Yodlee, Inc. v. CashEdge, Inc., No. C
24   05-01550 SI, 2006 WL 3456610, at *4 (N.D. Cal. Nov. 29, 2006).
         17
25           See, e.g., Versata Software, Inc. v. SAP America, Inc., 717 F.3d 1255, 1261-62 (Fed. Cir.
     2013) (where claims recite “computer instructions,” expert properly relied on “demonstrative data
26   setup” to “confirm[] … that the accused software was capable of performing the claimed
     functionality by making the software perform the function without modifying the software”).
27       18
            On the preliminary injunction, the Court found that an alleged apparatus consisting of two
     different WAIS software versions installed on two computers connected together as a single
28       (footnote continued)

                                                15               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 21 of 31




 1 (Id. at 15.) This is factually nonsensical, and legal error. See supra at 1. When comparing the

 2 claims at issue to the actual prior art, and the actual evidence (including source code) regarding that

 3 prior art, Apple’s claims are invalid and its motion lacks merit.

 4          B.      AppleSearch Was Known, Used, Sold, and Offered For Sale In The Prior Art
                    Period With The Capabilities Recited In The ’959 Patent
 5
            Apple admits AppleSearch is prior art; it stipulated to that fact.19 AppleSearch source code
 6
     contains “instructions” with the capabilities recited in by the ’959 Patent. (Rinard Decl. Ex. 1 at 2.)
 7
     Dr. Rinard confirmed this code analysis by causing AppleSearch’s relevant “instructions” to
 8
     execute, demonstrating the software’s capabilities. (Id.) These capabilities include heuristic local
 9
     search, as shown by code analysis (Id. at 1-26), demonstrative execution of this code (Id. at Ex. 1
10
     (showing screenshots)), and contemporaneous documents created by Apple’s own employees.
11
     (Fazio Decl. Ex. 8 (APLNDC630-0000441957; APLNDC630-0000441843).) AppleSearch was
12
     also designed to query WAIS servers for Internet search – a capability prominently illustrated on
13
     the box in which the software shipped. (Fazio Decl. Ex. 9 (SAMNDCA630-07890674).) As this
14
     packaging shows, AppleSearch queried both “local information” and the “Internet” via “WAIS
15
     servers,” giving it the capability for “simultaneous access to local and Internet information
16
     sources through the easy-to-use AppleSearch interface” – the very functionality Apple claims as
17
     novel in the ’959 patent. These amply-corroborated capabilities20 are similar to those Apple
18
19 “apparatus for locating information in a network,” was not supported by proof that such an
   apparatus actually existed in the prior art. (Dkt. 221 at 24-28 (PI Order).) Here, Dr. Rinard took
20 authentic software that was known to exist and analyzed the capabilities of that software. (Rinard

21 Decl. ¶¶ 112-124; Ex. 1-2) To confirm what his source code analysis already proved, Dr. Rinard
   caused these instructions to execute, demonstrating the capabilities of those instructions have the
22 same   capabilities described in the asserted ’959 patent claims. (Rinard Decl. ¶¶ 112-124.)
       19
           Dkt. 705 at 2 (“source code for AppleSearch versions 1.0 and 1.5 . . . is authentic source
23 code that was implemented in AppleSearch software that was used publicly, commercially sold,
   offered for sale, or publicly accessible prior to January 5, 1999”), id. at 4 (“executable software for
24 AppleSearch versions 1.5 and earlier … is an authentic copy of software that was used publicly,

25 commercially
       20
                   sold, offered for sale, or publicly accessible prior to January 5, 1999.”)
           Fazio Decl. Ex. 8 (AppleSearch Administrator’s Guide) at APLNDC630-0000441957-60
26 (describing capability to search information located in local storage media on the AppleSearch
   server computer and in WAIS databases located on the Internet)); id. Ex. 10 (AppleSearch User’s
27 Guide) at APLNDC630-0000441863-74 (step-by-step instructions for simultaneously searching a
   database located on the computer with the AppleSearch server application and a remote WAIS
28     (footnote continued)

                                                 16               Case No. 12-CV-00630-LHK (PSG)
                      SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 22 of 31




 1 accuses of infringement, and a jury accepting Apple’s infringement arguments would readily

 2 conclude AppleSearch invalidates for the same reasons. (Rinard Decl. ¶¶ 136, 137,137 144, 147-

 3 149, 155-168, Ex. 1).21 This evidence of anticipation must go to the jury.22

 4           C.     WAIS Software Was Known, Used, Sold, and Offered For Sale In The Prior
                    Art Period With The Capabilities Recited In The ’959 Patent
 5
             Apple’s WAIS complaints rely on conflating the current record with the preliminary
 6
     injunction record. Apple ignores the current facts, the current expert’s testing, and even the current
 7
     patent, to say WAIS is not prior art as a matter of law. Apple is wrong. Ample evidence not
 8
     available at the preliminary injunction phase – including freeWAIS-sf software, and testimony and
 9
     documents from the developers of that software – shows the ’959 patent, which also was not at
10
     issue in the preliminary injunction phase, is invalid in light of WAIS.
11
             Brewster Kahle created, sold, and ultimately openly published the source code for WAIS
12
     software by 1991. (Fazio Decl. Ex. 12 (Kahle Dep.) at 80:20-81:5; 85:3-15).) In 1993, WAIS
13
     development was transferred to the University of Dortmund, which released “an expanded version
14
     of WAIS” called freeWAIS-sf. (Fazio Decl. Ex. 13 (Fuhr Dep.) at 83:8-84:23, 73:13-76:8; Fuhr
15
     Decl. ¶ 4; Pfeifer Decl. ¶ 3.) This software included “all the functionalities of WAIS” as first
16
     released by Brewster Kahle, with enhancements. (Fazio Decl. Ex. 15 (Expansion of the FreeWAIS
17
     Server, Tung, 1994, SAMNDCA630-06029163) at 126.) An authentic copy of the freeWAIS-sf
18
     software was produced at FUHRNDCA630-00000001. (Fazio Decl. Ex. 13 (Fuhr Dep.) at 195:5-
19
     202:18; Fuhr Decl. ¶¶ 8-10; Ex. 14 (Pfeifer Dep.) at 44:9-45:4, 50:6-19, 226:13-233:20.; Pfeifer
20

21
   database using the AppleSearch client application)); id. Ex. 11 (SAMNDCA630-07216825-
22 SAMNDCA630-07216829 (Usenet postings by Apple employee and others, confirming capability
   to run AppleSearch server and client on same computer to search local storage media)).
           21
23            This is true regardless of the type of WAIS server AppleSearch could be used to
   connect to –
24                                                            (Rinard Decl. ¶¶ 155-168)
25
                                                                            (Id.)
        22
26        See, e.g., TypeRight Keyboard Corp. v. Microsoft Corp., 374 F.3d 1151, 1159 (Fed. Cir.
   2004) (where “the evidence is sufficient to support a jury finding” that a reference is prior art, or
27 conversely is not prior art, “‘[t]he court may not assess the credibility of testimony when granting
   summary judgment’ . . . TypeRight is entitled to a trial to determine if [the reference] is prior art.”)
28

                                                17               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 23 of 31




 1 Decl. ¶ 4) This software anticipates claims 24 and 25 of the ’959 patent: it included instructions

 2 with all the claimed capabilities. Code analysis demonstrates this. (Rinard Decl. Ex. 2.)

 3 Installations of the software causing these instructions to execute further confirm the software’s

 4 capabilities. (Id. at 2.) There is no “cobbling together” or “junkyard” assembly: Dr. Rinard

 5 analyzed a single software distribution available to the public by 1996 that contained every

 6 instruction required by the claim.23

 7           Contrary to Apple’s assertions, a plethora of evidence shows this free-WAIS-sf software

 8 was known and used in the United States by 1996. The software’s creators, who were deposed in

 9 this case, established that the free-WAIS-sf distribution containing the invalidating source code and

10 documentation was published on an FTP server by February 1996. (Pfeifer Decl. ¶¶ 8-9 & Exs. 2-

11 4; Fuhr Decl. ¶¶ 8-11.) Emails and newsgroup postings confirm users in the United States knew of

12 and used the same free-WAIS-sf distribution Dr. Rinard analyzed.24 (Fuhr Decl. ¶ 13; Pfeifer Decl.

13 ¶¶ 12-23.) Log data collected by the creators of free-WAIS-sf also shows hundreds of servers

14 running free-WAIS-sf in the United States by 1997. (Fuhr Decl. ¶ 12; Fuhr Decl. Ex. 4; Pfeifer

15
        23
           The freeWAIS-sf 2.0.65 distribution “includes all source code necessary to operate a WAIS
16 system, including the complete source code for a WAIS server, complete source code for the
   graphical WAIS client, Xwais, complete source code for a WAIS indexer which builds WAIS
17
   databases, and files sufficient to configure and install the WAIS server, WAIS indexer, and Xwais
18 client,” such that “the freeWAIS-sf 2.0.65 distribution contains the claimed program instructions.”
   (Rinard Decl. Ex. 1 at 1.)
       24
19         See, e.g., Pfeifer Decl. Ex. 6 (3/13/1996 email from Torsten Heycke at the Stanford
   University School of Medicine in Stanford, California explaining that he is “using free-WAIS-sf
20 2.0.65” and besides some issues with headlines “Everything else is working nicely. :-)”); Pfeifer

21 Decl. Ex. 7 (7/31/1996 email from Chad Adams, systems administrator of the United States Army
   Cold Regions Research and Engineer Laboratory located in Hanover, New Hampshire, describing
22 how he installed free-WAIS-sf 2.0.65 and explained how “If I run the same query directly on the
   server, or using a windows wais program all the results are protrayed (sic) correctly.”); Pfeifer
23 Decl. Ex. 10 (3/28/1996 email from Frank Peters, the UNIX Systems Group Leader at Mississippi
   State University regarding his use of free-WAIS-sf 2.0.65); Pfeifer Decl. Ex. 11 (3/29/1996 email
24 from Jon Meek at American Cyanamid Company regarding his successful compilation of free-

25 WAIS-sf 2.0.65; Pfeifer Decl. Ex. 13 (2/18/1997 email from Michael Danahy, the System and
   Network Manager at Educational Service Unit #2 in Nebraska regarding his use of free-WAIS-sf
26 2.0.65); Pfeifer Decl. Exs. 14-15 (3/1997 emails from Bill Wood at the Center for Design Research
   at Stanford University in Stanford, California regarding his use of freeWAIS-sf 2.0.65); Pfeifer
27 Decl. Ex. 16 (3/29/1997 email from Bowen Dwelle, Engineering Project Manager for WIRED
   Digital in California, explaining that she is currently using free-WAIS-sf 2.0.65.).
28

                                                18               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 24 of 31




 1 Decl. ¶ 13; Pfeifer Decl. Ex. 17.) This is more than enough to defeat Apple’s motion. See, e.g.,

 2 Typeright Keyboard Corp. v. Microsoft Corp., 374 F.3d at 1157-8.

 3           Nothing about Samsung’s demonstrative configuration of this software, or Samsung’s

 4 execution of the software’s capabilities, is “hypothetical.” (Mot. at 15.) Samsung configured the

 5 software as described in the included installation guide and other freeWAIS-sf documentation.

 6 (Fazio Decl. Ex 16 (freeWAIS-sf Installation Guide, SAMNDCA630-00028135-86).) These

 7 installation instructions corroborate the software’s heuristic capabilities, including use of synonym

 8 files (id. at 9), stemming (id. at 27) and phonetics (id.). Apple never disputes these capabilities

 9 existed. Nor could it; these capabilities are clearly present in the software, and corroborated by

10 extensive documentation. 25

11           D.     Apple’s “Summary Judgment” Arguments Regarding Obviousness Are
                    Meritless, And Contradict Apple’s Court Filings And Litigation Positions
12
             Apple asks for “summary judgment” that obviousness arguments somehow were not
13
     preserved during case narrowing. This is a motion to strike – not a summary judgment motion –
14
     and it is meritless. AppleSearch and WAIS were listed on Samsung’s narrowing statement. (Dkt.
15
     793.) This preserved using each reference for anticipation and for single-reference obviousness.
16
     Apple admits this in its own case narrowing statement, where Apple informed the Court that listing
17
     a reference on its own preserves it as an “anticipatory or single-reference obvious reference[].”
18
     (Dkt. 670 at 5 (emphasis added).)26 This is exactly what Samsung has done. Samsung’s invalidity
19
     contentions have long put Apple on notice of both anticipation and single-reference obviousness
20

21      25
             Apple’s complaints regarding demonstrative exhibits are, at best, evidentiary objections to
22   be handled before trial – just as they were in the prior case between the parties, and not at summary
     judgment. (Case No. 5:11-cv-01846, Dkt. 1774 at 5) (in ruling on pretrial evidentiary objection,
23   allowing demonstrative set-up to be presented to the jury by Apple’s expert “if Apple is able to
     present relevant, admissible evidence such that a reasonable jury could find that the iBook is prior
24   art”).)
         26
25           Apple’s recent prior art narrowing statement lists as one entry “U.S. Patent No. 7,020,704
     (Ex. D-3).” (Dkt. 792 at 1.) Apple’s contentions and its expert’s report use this entry for two
26   theories: anticipation and single-reference obviousness. (Fazio Decl. Ex. 17 (Opening Expert
     Report of Richard Taylor) ¶ 185.) Apple never listed the ’704 patent twice, once for anticipation
27   and again for single-references obviousness, because Apple knew disclosing a reference once
     preserved the reference for anticipation and single-reference obviousness. (Dkt. 670, 792).
28

                                                19               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 25 of 31




 1 theories,27 and Apple’s last-ditch effort to avoid obviousness is meritless, procedurally improper,

 2 and inconsistent with Apple’s own filings with this Court.28

 3 V.        THE ’446 PATENT DOES NOT ANTICIPATE THE ’757 PATENT
 4           The ’446 Patent in combination with Multer does not anticipate the asserted claims of

 5 Samsung’s ’757 Patent. First, the ’446 Patent and Multer cannot be treated as a single reference as

 6 a matter of law. Second, the ’446 Patent and Multer fail to disclose automatic synchronization of

 7 content information and content management information between the central and zone devices.

 8 Third, the ’446 Patent and Multer do not disclose a system that is capable of updating content

 9 information and content management information between a central device and multiple zone

10 devices. This results in a system that, unlike the ’757 Patent, does not allow a user’s multimedia

11 collection to be “synchronized automatically by having the devices communicate to and from each

12 other so that the content is available in multiple locations or zones that the consumer may go.”

13 (Rho Decl. Ex. E-1 (Dkt. No. 803-14, ’757 Patent) at 3:3-6; see also id. at 9:52-56 (“this invention

14 teaches a complete system for providing recorded multimedia programming in digital form that is

15 updated on all devices owned by an user, over a network”)) (emphasis added). Instead, the ’446

16 Patent discloses a simplistic system that does not synchronize all devices, let alone automatically.

17 At a minimum, Apple’s motion presents numerous factual disputes and should be denied.

18           A.     Incorporation of the Multer Patent is Inappropriate
19           A patent claim is only invalid due to anticipation if, within “the four corners of a single,

20 prior art document ... every element of the claimed invention [is described].” Advanced Display

21 Sys., Inc. v. Kent State Univ., 212 F.3d 1272, 1282 (Fed. Cir. 2000). To incorporate material by

22 reference, the host document must “clearly identify[] the subject matter which is incorporated and
        27
23            Fazio Decl. Ex 19 (Samsung’s Invalidity Contentions, Exhibit C-9) at 5 (“WAIS anticipates
     . . . and renders obvious . . . under 35 U.S.C. § 103, alone and/or in combination” with other
24   references); id. Ex. 20 (Samsung’s Invalidity Contentions, Exhibit C-21) at 4 (same, AppleSearch).
           28
25            Apple argues Samsung preserved anticipation only, because “if obviousness was intended
     there would be no need to mention [relying on] multiple documents [to prove a system’s
26   functionality] as that is part and parcel of an obviousness inquiry.” (Mot. at 18 n. 14.) This is
     nonsensical. It also contradicts Apple’s narrowing statement (Dkt. No. 792 at 2), which lists a
27   system (Kodak SV9600) “with supporting documentation” as a reference, despite arguing
     obviousness for that reference. (Id. at 1).
28

                                                 20               Case No. 12-CV-00630-LHK (PSG)
                      SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 26 of 31




 1 where it is to be found.” Id. (citing In re Seversky, 474 F.2d 671, 674 (CCPA 1973).) The “mere

 2 reference to another application, or patent, or publication is not an incorporation of anything therein

 3 . . .” In re Seversky, 474 F.2d at 674. The Court must determine what material, if any, is

 4 incorporated by reference. Advanced Display, 212 F.3d at 1283. Further, “the standard of one

 5 reasonably skilled in the art should be used to determine whether the host document describes the

 6 material to be incorporated by reference with sufficient particularity.” Id.

 7           Apple’s anticipation argument relies heavily on subject matter found in the Multer Patent,

 8 not the ’446 Patent.29 But Apple fails to identify any incorporation language in the ’446 Patent

 9 much less present any evidence that one of skill in the art would find incorporation of any relevant

10 subject matter from Multer to be sufficiently particular. Nor could it. As Dr. Schonfeld explains,

11 one of ordinary skill would not find any incorporation from Multer to be sufficiently particular.

12 (Schonfeld Decl. at ¶¶ 49-51, 55-57.) Thus, Apple’s motion should be denied. See Helicos

13 Biosciences Corp. v. Illumina, Inc., 888 F. Supp. 2d 519, 533 (D. Del. 2012).

14           B.     The ’446 Patent Does Not Teach Automatic Synchronization Of Multimedia
                    Data
15
             The ’446 Patent fails to disclose the automatic synchronization of both content information
16
     (“CI”) and content management information (“CMI”) “relating to at least one user” between the
17
     central and zones devices. (Schonfeld Decl. at ¶¶ 38-48.)
18
19
                                                            (Fazio Decl. Ex. 18 (Taylor Dep.) at 44:15-
20
     46:11                                         Schonfeld Decl. at ¶¶ 29-34; see also Rho Decl. Ex.
21
     E-1 (Dkt. No. 803-14, ’757 Patent) at 3:1-7 (the user’s “entire [multimedia] collection [is]
22
     synchronized automatically”).)30
23

24      29
           Apple fails to address the relevant authority in its motion and instead relies on cases that are
25 inapposite.  First, Ultradent Prods. Inc. v. Life-Like Cosmetics, Inc., 127 F.3d 1065, 1069 (Fed. Cir.
   1997) pre-dates the seminal Advanced Display Sys. opinion and is cited therein. Second, Harari v.
26 Mihnea, 656 F.3d 1331, 1335-1336 (Fed. Cir. 2011) addresses the sufficiency of a written
   description in an interference, not the clear and convincing standard for anticipation.
27     30
           Apple wrongly asserts that Samsung did not dispute that the “updated in relation to”
   limitation is disclosed by the ’446 Patent. (Mot. at 22; Ex. E-4 at 171, lines 19-23).
28

                                                21               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 27 of 31




 1           Apple relies on irrelevant ’446 Patent disclosures relating to manual synchronization. (Mot.

 2 at 22-23; Schonfeld Decl. at ¶¶ 29-34 and 38-48.)

 3                                                  (Fazio Decl. Ex. 21 (Taylor Rebuttal Report) ¶¶ 159,

 4 170, 187, 192, and 238.) Apple also relies on disclosures describing the transfer of data from a

 5 public server to the personal information space (“PIS”) that are irrelevant to whether there is

 6 automatic synchronization of CI and CMI between the storage server and network devices in the

 7 ’446 Patent (which Apple contends correspond to the central device and zone devices in claim 1 of

 8 the ’757 Patent). (Mot. at 22; Schonfeld Decl. at ¶¶ 37-48.)

 9           Indeed, because the ’446 Patent does not mention automatic synchronization of any kind

10 between the storage server and network devices – and Apple does not argue otherwise – Apple

11 resorts to a portion of Multer that involves “pull synchronization” of non-multimedia files, such as

12 email, calendars and contacts, on one device after another device is manually synchronized.31 But

13 this portion of Multer cannot anticipate because it does not involve the synchronization of “audio,

14 video, or photographic” data as required by claim 1 of the ’757 patent, nor does it involve the

15 automatic synchronization of all devices in the system. Combining different parts of a reference

16 that discuss disparate embodiments cannot sustain a finding of anticipation as a matter of law. See

17 Net MoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359, 1371 (Fed. Cir. 2008) (“it is not enough that

18 the prior art reference . . . includes multiple, distinct teachings that the artisan might somehow
19 combine to achieve the claimed invention”.)

20           C.     The ’446 Patent Does Not Teach A System That Is Capable Of Synchronizing
                    Data Across All Devices Of The System
21
             The ’446 Patent also does not disclose a system that is capable of updating content and
22
     content management information between the central device and all of the zone devices.
23
                    1.      No disclosure of bidirectional synchronization between a zone and
24                          central device
25           Claim 1 of the ’757 Patent expressly requires that audio, video, or photograph information

26 be “updated in relation to the zone specific storage and interface devices and the central storage
27      31
             Apple’s reliance on this portion of the Multer Patent is improper because Apple did not
     identify it in its invalidity contentions.
28

                                                22               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 28 of 31




 1 and interface device.” (emphasis added.) Thus, an update to one device results in a corresponding

 2 update to the another device, and vice versa. (Schonfeld Decl. at ¶¶ 26-35.) The specification

 3 confirms this. (Rho Decl. Ex. E-1 (Dkt. No. 803-14, ’757 Patent Abstract) (“audio, video, or

 4 photographic information, relating to at least one user, contained within each one of the plurality of

 5 zone specific storage and interface devices and the central storage and interface device, are updated

 6 in relation with other zone specific storage and interface devices and the central storage and

 7 interface device”) (emphasis added).)

 8          The ’446 Patent, in contrast, provides a simplistic system that relies on unidirectional

 9 synchronization between two devices. Figure 4 depicts a system comprised of two zones: an

10 Office PC that resides in the user’s office and a Home PC that resides in a room of the user’s home.

11 (Rho Decl. Ex. E-2 (Dkt. No. 803-14, ’446 Patent) at Fig. 4.) The specification states that data

12 “may be synchronized or transferred (uni-directionally) to any network coupled appliance 400”,

13 such as a PC, but does not provide for automatic, bidirectional synchronization between devices as

14 required by claim 1. (Id. at 9:53-55.)

15                  2.      No disclosure of a system that has the capability to update all devices
16          The ’446 patent also fails to disclose a system that synchronizes all of the zone devices with
17 the central device and each other. (Schonfeld Decl. at ¶¶ 35, 41, 43-48; Rho Decl. Ex. E-1 (Dkt.

18 No. 803-14, ’757 Patent) at 9:52-56 (“this invention teaches a complete system for providing
19 recorded multimedia programming in digital form that is updated on all devices owned by an user,

20 over a network”.) Claim 1 requires that “audio, video, or photographic information, relating to at

21 least one user, contained within the zone specific storage and interface device . . . are updated in

22 relation to the zone specific storage and interface devices central storage and interface device.”

23 (Rho Decl. Ex. E-1 (Dkt. No. 803-14, ’757 Patent) at 10:42-47.) In other words, each zone device

24 must be updated in the same way as the central device and all other zone devices. The ’757 patent

25 teaches that this is an important feature of the inventive system of claim 1 because it:

26          allows multiple devices to synchronize its internal collection with each other, so that the
            end result is that all the devices have the same content and content management means
27          (playlists, settings, etc.) . . . . Therefore, a complete copy of the content is stored locally in a
            device within a zone or any zone, so that the output can be played in multiple zones or
28          rooms in a networked building or in multiple locations traveling through a wide area

                                                23               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 29 of 31




 1           network such as the Internet.”

 2 (Id. at 9:62-10:5 (emphasis added); see also id. at claim 1 (“whereby the at least one user can be

 3 situated in any one of the zones and access the audio, video, or photographic information related to

 4 the at least one user” (emphasis added)).

 5           As explained above, the ’446 patent simply discloses one-way synchronization between two

 6 devices. Figure 4 of the ’446 Patent, for example, discloses updating between two, not all, devices.

 7 (Rho Decl. Ex. E-2 (Dkt. No. 803-14, ’446 Patent) at Fig. 4.) In fact, rather than storing a copy of

 8 the content on each device, the ’446 patent teaches that the all devices of the PIS collectively,

 9 rather than individually, store the user’s data, which further demonstrates that the devices of the

10 system are not updated in relation to the central device or each other. (Id. at 1:50-55; Schonfeld

11 Decl., ¶¶ 40-41 and 63.) Apple again seeks to supplement the ’446 Patent by combining it with an

12 incompatible device taught in the Multer Patent, but such a combination is impermissible as a

13 matter of law and should be rejected. See Net MoneyIN, 545 F.3d at 1371.

14           Apple also argues claim 1 does not require the zone devices of a multiple zone system to be

15 updated in relation to the other devices. But claim 1 plainly states that each zone device must be

16 “capable of storing and interfacing” with CI and CMI stored in the central device wherein that data

17 is updated in relation to the other “zone specific storage and interface devices.” (Rho Decl. Ex. E-1

18 (Dkt. No. 803-14, ’757 Patent) at 10:42-47 (emphases added).)32 Dr. Schonfeld opines that one of
19 ordinary skill would understand this language to mean that all of the zone devices of a system must

20 be capable of automatically synchronizing with the central device and each other. (Schonfeld Decl.

21 ¶¶ 33-35.)                                                                     Nevertheless, Apple

22 argues that Dr. Schonfeld’s understanding is inconsistent with the prosecution history. (Mot. at 23-

23 24.) Not so. The referenced claim amendment merely broadened the scope to cover a one zone

24 system; that change does not alter the fact that claim 1 explicitly requires a system capable of

25      32
          See also ’757 patent at claim 6 (“audio, video, and photographic information contained
26 within each one of the plurality of zone specific storage and interface devices and the central
   storage and interface device are stored therein and updated at a predetermined time in relation with
27 other zone specific storage and interface devices as well as the central storage and interface
   device.”) (emphasis added).
28

                                                24               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 30 of 31




 1 automatically synchronizing CI and CMI with multiple zone devices.

 2 VI.      APPLE’S MOTION SEEKS EXCESSIVE CLAIM CONSTRUCTION
 3          This Court warned Apple not to use summary judgment for additional claim construction.

 4 (Dkt. 719 (Hr’g Tr. at 22:13-16) (THE COURT: “If you want another full-blown claim

 5 construction, I’m happy to do that, but I’m going to move this trial date and I will turn the time that

 6 I had dedicated to this trial to dedicate it to claim construction . . . .”).) Apple’s motion ignores this

 7 admonition, just as it ignores numerous factual disputes, and seeks constructions of multiple claim

 8 terms in the ’647, ’414, ’172, and ’757 Patents. While the Court should deny Apple’s summary

 9 judgment motion due to multiple disputes of material fact, the Court should also deny the motion

10 for ignoring this Court’s clear command not to turn summary judgment into a Markman hearing. If

11 Apple’s motion is considered despite its request for excessive construction, the Court should

12 schedule a Markman hearing and order further briefing in lieu of trial, so that terms are not

13 construed on an undeveloped record. (Dkt. 719 (Hr’g Tr. at 24:22-25:7).)

14 VII.     CONCLUSION
15          For the foregoing reasons, Apple’s motion for partial summary judgment should be denied.
16 DATED: November 1, 2013                      QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
17

18
                                                   By /s/ Victoria F. Maroulis
19                                                   Charles K. Verhoeven
                                                     Kevin P.B. Johnson
20                                                   Victoria F. Maroulis
                                                     William C. Price
21                                                   Michael L. Fazio
22
                                                      Attorneys for
23                                                    SAMSUNG ELECTRONICS CO., LTD.,
                                                      SAMSUNG ELECTRONICS AMERICA, INC.,
24                                                    and SAMSUNG TELECOMMUNICATIONS
                                                      AMERICA, LLC
25

26
27

28

                                                25               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:12-cv-00630-LHK Document 854-3 Filed 11/01/13 Page 31 of 31




 1                             ATTESTATION OF E-FILED SIGNATURE
 2          I, Patrick D. Curran, am the ECF user whose ID and password are being used to file

 3 Samsung’s Opposition to Apple’s Motion For Partial Summary Judgment. In compliance with

 4 Civil L.R. 5-1(i), I hereby attest that Victoria F. Maroulis has concurred in this filing.

 5

 6 Dated: November 1, 2013                            /s/ Patrick D. Curran
                                                      Patrick D. Curran
 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                26               Case No. 12-CV-00630-LHK (PSG)
                     SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
